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AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                     Central District of California

                                                                  )
          ELLIOT BROIDY; BROIDY CAPITAL
         MANAGEMENT, LLC; CIRCINUS, LLC,                          )
                                                                  )
                                                                  )
             Connterclaim-Plaintiff(s)
                                                                  )
                                                                  )
                                 V.                                       Civil Action No. 2:21-cv-06320-MCS-JC
                                                                  )
        MOSAFER INC.; MOSAFER ECOM ,                              )
 INC.; GOMOSAFER, STATE OF QATAR, ABU ISSA                        )
  HOLDING WLL, ASHRAF ABU ISSA, NABIL ABU                         )
                    ISSA                                          )
            Cotmterclaim-Defendant(s)                             )

                         COUNTERCLAIM SUMMONS IN A CIVIL ACTION
      Cotmterclaim-
To:   (Defendant's name and address) STATE OF QATAR
                                         HE Sheikh Mohammed bin Abdulrahman AI-Thani
                                         Minister of Foreign Affairs
                                         Ambassadors Street Al Mirqab Tower
                                         Ministry of Foreign Affairs, West Bay
                                         Doha Qatar


          A lawsuit has been filed against you.

         Within 60 days after se1vice of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States desc1ibed in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must se1ve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be se1ved on the plaintiff or plaintiffs attorney,
whose name and address are: MCGUIREWOODS LLP
                                         KEVIN M. LALLY (SBN 226402)
                                         ABIGAIL G. URQUHART (SBN 310547)
                                         355 S. Grand Avenue, Suite 4200
                                         Los Angeles, California 90071-3103


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                            CLERK OF COURT


Date:
                                                                                      Signature ofClerk or Deputy Clerk
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 Civil Action No. 2:21-cv-06320-MCS-JC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
